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                                      UNITED STATES OF AMEICA
                      DISTRICT COURT FOR THE DISTRICT OF COLORADO


  MICHAEL HUPFER                                )
                                                )
                          Plaintiff             )
                                                )
  v.                                            )       Case No. 1:21-CV-2332
                                                )
                                                )
  CAROLINE KAUFMAN                              )
                                                )
  and                                           )
                                                )
  MARY HOGAN                                    )
                                                )
                          Defendants.           )




                                COMPLAINT AND JURY DEMAND


           COMES NOW Plaintiff, Michael Hupfer, by and through undersigned counsel, Howard O.

  Bernstein P.C., and asserts the following complaint for relief:



                                         Jurisdiction and Venue

           1.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 as

  complete diversity exists and the matter in controversy exceeds $75,000, exclusive of interest and

  costs.

           2.     This Court is the proper venue for this action pursuant to 28 U.S.C. § 1391(b)

  because a substantial part of the events or omissions giving rise to the claim occurred within this

  judicial circuit.



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                                            The Parties

           3.    Mr. Hupfer resides at 835 South 7th Street, Louisville, CO 80027.

           4.    Mr. Hupfer is a commercial film producer and music composer and makes his

  living producing television advertisements and soundtracks for commercial clients.

           5.    Defendant Caroline Kaufman resides at 3020 Dona Emilia, Studio City, California

  91604.

           6.    Defendant Mary Hogan resides at 4514 Adenmoor Avenue, Lakewood, California

  90713.


                                        Factual Allegations

           7.    Ms. Kaufman is Mr. Hupfer’s first cousin.

           8.    Ms. Kaufman is the widow of Howard Kaufman of HK Management, who managed

  artists and music groups such as Jimmy Buffett, Chicago, Aerosmith, Def Leppard and Lenny

  Kravitz.

           9.    On March 23, 2021, Ms. Kaufman texted Mr. Hupfer and maliciously accused him

  of being a pedophile.

           10.   Ms. Kaufman’s accusations against Mr. Hupfer are false and unfounded.

           11.   Ms. Kaufman has a history of using her late husband’s money, power and influence

  to bully and intimidate other family members.

           12.   Following her initial accusation, Ms. Kaufman engaged in a pattern of harassment,

  contacting Mr. Hupfer and people who know him repeatedly, and making slanderous and obscene

  accusations against him.

           13.   Specifically, Ms. Kaufman made the following false accusations:

                 a. That Mr. Hupfer is a pedophile;


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                 b. That Ms. Kaufman has surveillance video and audio footage of him performing

                    sexual acts with minors;

                 c. That Ms. Kaufman’s entire family has seen the alleged videos and heard the

                    audio;

                 d. That William Deignan and Jerry Shelsta walked in on Mr. Hupfer having sex

                    with a minor;

                 e. That Howard Kaufman, Ms. Kaufman’s late husband, kicked Mr. Hupfer out of

                    their house after catching him sleeping with three minors;

                 f. That Ms. Kaufman’s daughter, witnessed Mr. Hupfer thrown out of their home

                    by her father after Mr. Hupfer was caught sleeping with minors;

                 g. That Mr. Hupfer’s sister and her husband told Ms. Kaufman “horror stories” of

                    Mr. Hupfer engaging in illicit acts with minors, and that their adult children

                    relayed the same stories to Ms. Kaufman’s daughter.

                 h. That there are “nasty photos” of Mr. Hupfer with minors.

         14.     All the accusations in Paragraph 13 above are completely false.

         15.     Ms. Kaufman knew that the accusations detailed in Paragraph 13 above were false.

         16.     Ms. Kaufman’s accusations were purposefully insulting, taunting, and provoking

  to Mr. Hupfer and made with the intent to harass him.

         17.     On March 24, 2021, Ms. Kaufman texted Mr. Hupfer again and threatened him not

  to get her sister involved or she would contact an alleged FBI Special Agent named Peter Callaghan

  (“Agent Callaghan”) and have Mr. Hupfer arrested.

         18.     On March 28, 2021, Ms. Kaufman left Mr. Hupfer a threatening voicemail stating

  Agent Callaghan would be contacting his parents that evening.



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         19.     Later that same day, Ms. Kaufman left a second threatening voicemail for Mr.

  Hupfer stating that she has nothing to lose and that he cannot do anything to her.

         20.     Each one of Ms. Kaufman’s communications with Mr. Hupfer, beginning with the

  text on March 23, 2021, has caused him significant emotional distress, which is ongoing.

         21.     Throughout March 2021, Ms. Kaufman spread the malicious and false accusation

  that Mr. Hupfer is a pedophile to several other individuals. Ms. Kaufman contacted the following

  people to spread this malicious accusation:

                 a. On March 23, 2021, Ms. Kaufman contacted her sister, Mr. Hupfer’s cousin,

                     and accused Mr. Hupfer of illicit acts with minors, stated she had video and

                     audio of the same and that her entire family had seen and heard the video.

                 b. On March 28, 2021, Ms. Kaufman emailed Mr. Hupfer’s elderly father, Jim

                     Hupfer, and stated Mr. Hupfer was caught sleeping with three minors and

                     kicked out of her home. She further stated her adult daughter witnessed that

                     alleged event.

                 c. On March 28, 2021, Ms. Kaufman emailed Jim Hupfer again to state Agent

                     Callaghan would be happy to meet with him.

                 d. On March 28, 2021, Ms. Kaufman contacted her brother, who is Mr. Hupfer’s

                     cousin, and claimed that Mr. Hupfer’s former business partner William Deignan

                     walked in on Mr. Hupfer having sex with a minor. Ms. Kaufman also repeated

                     the allegation that Mr. Hupfer was caught sleeping with three minors and kicked

                     out of her home, and that Ms. Kaufman’s adult daughter witnessed that alleged

                     event. Ms. Kaufman also made the false allegation that Mr. Hupfer’s sister and

                     her husband told Ms. Kaufman “horror stories” about Mr. Hupfer and minors,



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                     and that those same stories were relayed by their adult daughter and son to Ms.

                     Kaufman’s adult daughter.

                 e. On March 28, 2021, Ms. Kaufman told her brother that she had shared the

                     malicious accusations about Mr. Hupfer with Jimmy Buffett.

         22.     Ms. Kaufman knew that her accusations against Mr. Hupfer were false when she

  shared them with the individuals above.

         23.     On March 28, 2021, two individuals, who were upon information and belief acting

  in coordination with and at the direction of Ms. Kaufman, called Jim Hupfer impersonating federal

  law enforcement officers. They alleged there were photographs of Mr. Hupfer engaging in illicit

  acts with minors and stated the FBI will be arresting him within 24 hours.

         24.     On May 20, 2021, a private investigator hired by Ms. Kaufman, Mary P. Hogan,

  contacted Jerry Shelsta, Mr. Hupfer’s former business partner, attempting to verify whether Mr.

  Shelsta and another former business partner, William Deignan, had ever walked in on Mr. Hupfer

  engaging in illicit acts with a minor. Mr. Shelsta informed Ms. Hogan he had not and that he had

  no knowledge of Mr. Hupfer engaging in any illicit acts with minors.

         25.     On May 20, 2021, Ms. Hogan, also contacted William Deignan attempting to verify

  whether Mr. Deignan and Mr. Shelsta ever walked in on Mr. Hupfer engaging in illicit acts with a

  minor. Mr. Deignan informed Ms. Hogan they had not and that he had no knowledge of Mr. Hupfer

  engaging in any illicit acts with minors.

         26.     On May 26, 2021, Ms. Hogan, contacted Colin Eckhoff, the ex-husband of Mr.

  Hupfer’s close friend, and stated that she is investigating Mr. Hupfer for allegedly sleeping with

  minors.




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         27.     On May 26, 2021, Ms. Hogan, contacted Trevor Barnes, Mr. Hupfer’s childhood

  friend’s grown son, and stated that she is investigating Mr. Hupfer for allegedly sleeping with

  minors.

         28.     In her communications, Ms. Hogan made the repeated false allegation that Mr.

  Hupfer had had sex with minors.

         29.     Each individual contacted by Ms. Hogan told other individuals of the malicious and

  false allegations that Ms. Kaufman made against Mr. Hupfer. As a result of Ms. Hogan spreading

  Ms. Kaufman’s malicious and false allegations, those allegations have been shared with a wide

  network of people.

         30.     Ms. Hogan made statements alleging Mr. Hupfer engaged in illicit activities with

  minors with reckless disregard for whether or not Ms. Kaufman’s accusations were false.

         31.     At all times, Ms. Kaufman’s accusations have been false. Mr. Hupfer has never,

  and would never, engage in the type of conduct Ms. Kaufman has accused him of.

         32.     The dissemination of the malicious and false allegations against Mr. Hupfer has

  caused, and continues to cause, him significant emotional distress and has strained his relationships

  with friends and family.

         33.     Mr. Hupfer has also suffered significant professional harm because of the malicious

  and false allegations against him. Ms. Kaufman has intentionally sought to harm Mr. Hupfer’s

  professional reputation by contacting others within the industry, like Jimmy Buffett and his

  previous business partners.

         34.     The reputational harm caused by Ms. Kaufman’s accusations is far reaching,

  impacting all areas of Mr. Hupfer’s life.




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          35.      Mr. Hupfer has had significant reduction in his client work because of the

  allegations against him and their impact on his life, resulting in lost earnings.

          36.      Because of Ms. Kaufman and Ms. Hogan’s dissemination of the malicious and false

  accusations against Mr. Hupfer, he has experienced depression, stress, and sleep disorder. Mr.

  Hupfer is seeking treatment for depression, stress, sleep disorder, and other negative health impacts

  caused by the malicious and false allegations.

          37.      Ms. Kaufman and Ms. Hogan have knowingly and intentionally spread the

  malicious and false allegations against Mr. Hupfer knowing they were false and with reckless

  disregard for the truth.

          38.      Mr. Hupfer has not been charged with any crime by law enforcement and there are

  no open investigations against him.

                                  FIRST CLAIM FOR RELIEF
                      (Defamation – Slander Per Se as to Defendant Kaufman)

          39.      Mr. Hupfer incorporates herein all facts as fully set forth in paragraphs 1 through

  33 above.

          40.      Ms. Kaufman caused several accusations asserting Mr. Hupfer is a pedophile to be

  published to multiple third parties and circulated widely through Mr. Hupfer’s family, friends, and

  professional network.

          41.      Ms. Kaufman’s accusations have caused Mr. Hupfer actual damage, including

  reputational harm, emotional harm, deteriorated health, and damage to his personal and business

  relationships.

          42.      The substance of Ms. Kaufman’s accusations are false.




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         43.     Ms. Kaufman knew at the time she was making the accusations against Mr. Hupfer

  that those allegations were false and made the accusations with the intent of causing Mr. Hupfer

  significant harm.

         44.     Because of the willful, wanton, malicious and outrageous nature of Ms. Kaufman’s

  accusations and conduct, Mr. Hupfer has been psychologically, economically and reputationally

  injured in excess of the jurisdictional minimum.



                                SECOND CLAIM FOR RELIEF
                       (Defamation – Slander Per Se as to Defendant Hogan)

         45.     Mr. Hupfer incorporates herein all facts as fully set forth in paragraphs 1 through

  43 above.

         46.     Ms. Hogan caused several accusations asserting Mr. Hupfer is a pedophile to be

  published to multiple third parties and circulated widely through Mr. Hupfer’s family, friends, and

  professional network.

         47.     Ms. Hogan repeated false accusations originally made by Ms. Kaufman, causing

  Mr. Hupfer actual damage, including reputational harm, emotional harm, deteriorated health, and

  damage to his personal and business relationships.

         48.     The substance of the accusations Ms. Hogan published is false.

         49.     Ms. Hogan acted with reckless disregard as to whether the accusations against Mr.

  Hupfer were false.

         50.     Because of the willful, wanton, malicious and outrageous nature of the accusations,

  and the reckless behavior of Ms. Hogan, Mr. Hupfer has been psychologically, economically and

  reputationally injured in excess of the jurisdictional minimum.




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                                   THIRD CLAIM FOR RELIEF
               (Extreme and Outrageous Conduct – Emotional Distress as to all Defendants)

         51.       Mr. Hupfer incorporates herein all facts as fully set forth in paragraphs 1 through

  49 above.

         52.       Ms. Kaufman and Ms. Hogan, each individually and together, engaged in extreme

  and outrageous conduct by originating and spreading malicious accusations against Mr. Hupfer of

  an extreme nature.

         53.       Ms. Kaufman and Ms. Hogan, each individually and together, engaged in such

  conduct recklessly and with the purpose of causing Mr. Hupfer severe emotional distress.

         54.       Ms. Kaufman and Ms. Hogan, each individually and together, were aware of the

  extreme nature of the accusations and the correspondingly severe impact they would have on Mr.

  Hupfer’s personal life and career.

         55.       Ms. Kaufman and Ms. Hogan’s individual and joint conduct has caused Mr. Hupfer

  severe emotional distress.

                                       FOURTH CLAIM FOR RELIEF
                                    (Harassment as to Defendant Kaufman)

         56.       Mr. Hupfer incorporates herein all facts as fully set forth in paragraphs 1 through

  54 above.

         57.       Ms. Kaufman engaged in a pattern of behavior to harass Mr. Hupfer.


         58.       Ms. Kaufman contacted Mr. Hupfer repeatedly over phone and text to accuse him

  of being a pedophile, threatened to have him arrested, and intimidated him.


         59.       Ms. Kaufman also contacted Mr. Hupfer’s family and friends over phone and email

  to spread malicious accusations about Mr. Hupfer, undermining his personal and business

  relationships.

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         60.     Ms. Kaufman’s communications were made in a manner intended to harass Mr.

  Hupfer and make obscene suggestions about him.


         61.     Ms. Kaufman’s communications were insulting, threatening, and offensively

  coarse, and made in a manner likely to provoke a disorderly response.


         62.     Ms. Kaufman’s harassing communications have caused Mr. Hupfer severe harm,

  including reputational harm, emotional harm, deteriorated health, and damage to his personal and

  business relationships.



         WHEREFORE, Mr. Hupfer asks the Court for entry of judgment in his favor and against

  Ms. Kaufman and Ms. Hogan enjoining the defendants from engaging in any further slanderous

  and defamatory communications. Mr. Hupfer further asks the court for damages to the full extent

  allowed by law, including actual damages, punitive damages, costs, and attorney fees.



  DATED this 27th day of August 2021.
                                              HOWARD O. BERNSTEIN, P.C.

                                              /s/_Howard O. Bernstein
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